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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

BBAM Aircraft Management LP and             Case No. 3:20-cv-01056-VLB
BBAM US LP,

                Plaintiffs,

             -against-

Babcock & Brown LLC, Burnham
Sterling & Company LLC, Babcock &
Brown Securities LLC, Babcock &
Brown Investment Management LLC,

                Defendants.




      MOTION TO MODIFY SCHEDULING ORDER AND [PROPOSED] ORDER
     EXTENDING DEADLINE TO TAKE DEPOSITION OF DEFENDANTS’ 30(B)(6)
                  DESIGNEE, MR. MORGAN, BY 90 DAYS

      Pursuant to Federal Rule of Civil Procedure 16(b)(4) and Local Rule 7(b),

Plaintiffs BBAM Aircraft Management LP and BBAM US LP (collectively, “BBAM”

or “Plaintiffs”) respectfully moves this Court for modification of the scheduling

order to extend the discovery deadline for the sole purpose of accommodating

the further deposition of Mr. Michael Dickey Morgan, Defendants’ 30(b)(6)

designee, so that the deposition may take place after the Court rules on BBAM’s

pending Motion to Compel Trademark Investigation and Related Information (Dkt.

98, 100) (“Motion to Compel”). BBAM respectfully requests that Court extend the

deadline for the deposition by 90 days to give the Court time to rule on BBAM’s

pending Motion to Compel. Good cause exists for the extension to accommodate

this deposition after the Court rules on BBAM’s Motion to Compel because the

order will impact the scope of the deposition, as set forth below. Defendants
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Babcock & Brown LLC, Burnham Sterling & Company LLC, Babcock & Brown

Securities LLC, Babcock & Brown Investment Management LLC (collectively,

“Defendants”) do not oppose the requested extension.

      1.    On June 16, 2021, this Court entered the Third Scheduling Order

(“Scheduling Order”) setting October 15, 2021, as the close of discovery. Dkt. 80.

      2.    On October 8, 2021, the Parties filed a Joint Motion to Modify

Scheduling Order for the sole purpose of accommodating two depositions after

the October 15, 2021 close of discovery: the deposition of Dr. Rao scheduled for

October 28, and a further deposition of Mr. Morgan pending resolution of the

Parties’ then ongoing meet and confer efforts. Dkt. 91.

      3.    On October 14, 2021, this Court afforded the Parties two additional

weeks to conduct discovery based on the representations in the motion,

reminding the parties that “no additional time will be afforded absent good cause,

which requires ‘a particularized showing that the time limitation in question

cannot reasonably be met despite the diligence of the party seeking the

extension.’” Dkt. 96.

      4.    Pertinent to the deposition of Mr. Morgan, the Parties failed to

resolve their dispute regarding Defendants’ privilege claims and withholding of

information relating to their knowledge of BBAM’s trademark usage and

investigation, and Defendants did not produce the information subject to the

Parties’ meet and confer efforts by October 15, 2021. As a result, BBAM filed its

Motion to Compel on October 18, 2021. Dkt. 98, 100.

      5.    The Motion to Compel seeks an order finding waiver of privilege, or




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alternatively, requiring that Defendants produce factual information regarding

their knowledge of trademark use and their trademark investigations.

Accordingly, the Motion to Compel seeks an order relevant to the further

deposition of Mr. Morgan, Defendants’ 30(b)(6) designee, specifically finding:

                that the further Rule 30(b)(6) deposition of Defendants
                will proceed according to this Court’s finding on
                privilege—namely, that counsel will not instruct the
                witness not to answer questions on advice of counsel if
                waiver is found, or instruct not to answer questions
                regarding factual information even if such facts were
                part of or learned about through communications with
                counsel.

Dkt. 98, 100.

      6.        Accordingly, BBAM respectfully submits that it will be more efficient

and avoid the need for unnecessary depositions if the Court grants clarity

through this Motion to Modify that BBAM is not required to take the further

deposition of Mr. Morgan by October 29th but can proceed with the deposition

after the Court rules on the pending Motion to Compel.

      7.        BBAM was diligent in its efforts leading up to the Motion to Compel

and this Motion to Modify. BBAM previously deposed Defendant’s 30(b)(6)

designee, Mr. Morgan, on July 27-28, 2021. During that deposition, Mr. Morgan

was instructed not to answer, and refused to answer, certain questions posed by

BBAM regarding investigations conducted into use of the marks-at-issue, among

other topics. Because BBAM believed the information it sought is not privileged

and/or contends that the privilege was waived, BBAM requested that Defendants

provide Mr. Morgan for a further deposition. In mid-September, Defendants

agreed to do so subject to certain conditions.



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      8.     For the past few months, the parties have also been meeting and

conferring regarding Defendants’ production relating to its trademark

investigations, Defendants’ knowledge of various marks, and related privilege

issues. These diligent efforts resulted in BBAM filing its pending Motion to

Compel and are further detailed therein. Dkt. 98, 100.

      9.     Good cause exists for BBAM to depose Mr. Morgan after October 29,

and specifically within the next 90 days, to allow the Court time to rule on the

pending Motion to Compel. As discussed above, the Parties have been working

for several months to resolve their privilege disputes. Despite those efforts, there

are unresolved disputes between the Parties, including whether Defendants have

waived privilege, whether all responsive documents regarding Defendants’

investigations into and knowledge of use of the marks-in-suit have been

produced, and whether the instructions to Mr. Morgan not to answer questions

related to those investigations and the corresponding legal advice he was

provided were proper. Taking Mr. Morgan’s deposition before this Court provides

guidance and findings on privilege waiver and production would not be efficient

and may necessitate a further deposition that would otherwise be unnecessary if

the extension is granted.

      10.    Including the parties’ joint motions, this is BBAM’s third request to

modify case deadlines generally, and second request seeking to move this

specific deadline to conduct the deposition.

      11.    If granted, the requested extension will neither prejudice any party

nor impede the other deadlines in the Scheduling Order.




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      12.   For these reasons, BBAM respectfully submits that good cause

exists to extend the current discovery deadline by 90 days solely to

accommodate BBAM’s further deposition of Defendants’ 30(b)(6) designee, Mr.

Morgan.


Dated: October 22, 2021


                                            Respectfully submitted,

                                            Orrick, Herrington & Sutcliffe LLP

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IT IS SO ORDERED.

Dated: ___________


                                  HONORABLE VANESSA L. BRYANT
                                  UNITED STATES DISTRICT COURT




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                                Certificate of Service

      I hereby certify that on October 22, 2021, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing.

Parties may access this filing through the Court’s CM/ECF system.




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